         Case: 3:19-cv-00142-jdp Document #: 72 Filed: 09/30/19 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN

 THE DEMOCRATIC PARTY OF
 WISONSIN, COLLEEN ROBSON, ALEXIA
 SABOR, PETER KLITZKE, DENIS
 HOSTETTLER, JR., DENNIS D.                              Case No. 19-cv-142-jdp
 DEGENHARDT, MARCIA STEELE,
 NANCY STENCIL, and LINDSAY DORFF,

         Plaintiffs,

    v.

 ROBIN VOSS, SCOTT L. FITZGERALD,
 ALBERTA DARLING, JOHN NYGREN,
 ROGER ROTH, JOAN BALLWEG,
 STEPHEN L. NASS, JOEL BRENNAN,
 TONY EVERS, and JOSHUA L. KAUL,

         Defendants.


                            JUDGMENT IN A CIVIL CASE


         IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

defendants and dismissing the case for lack of subject matter jurisdiction.




         s/V. Olmo, Deputy Clerk                            9/30/2019
         Peter Oppeneer, Clerk of Court                     Date
